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		OSCN Found Document:RE SUSPENSION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2018 OK 29Decided: 04/10/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 29, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

RE: Suspension of Credentials ofRegistered Courtroom Interpreters
ORDER
The Oklahoma Board of Examiners of Certified Courtroom Interpreters has recommended to the Supreme Court of the State of Oklahoma the suspension of the credential of the Oklahoma Registered Courtroom Interpreter listed on the attached Exhibit for failure to comply with the annual continuing education requirements for 2017 and certificate renewal requirements for 2018. 
Pursuant to 20 O.S., Chapter 23, App. II, Rule 18(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 23, App.II, Rule 20(e), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date. 
IT IS THEREFORE ORDERED that the credentials of each of the interpreters named on the attached Exhibit is hereby suspended effective February 15, 2018.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 10th day of APRIL, 2018. 
/S/CHIEF JUSTICE
Combs, C.J., Gurich, V.C.J., Kauger, Winchester, Edmondson, Colbert, Reif and Wyrick, JJ., concur.
&nbsp;
Exhibit


Maria Ferri-Haro

Renewal Fee &amp; Continuing Ed


Maria LaMar

Renewal Fee


Mary McCormick

Renewal Fee &amp; Continuing Ed









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